Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 1 of 16 PageID #: 3569



                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                             LAFAYETTE DIVISION

  STATE OF LOUISIANA ET AL.,

               Plaintiffs,                     Case No. 6.22-cv-00885-RRS-CBW
  v.

  CENTERS FOR DISEASE CONTROL &
  PREVENTION, ET AL.,

               Defendants.

      BRIEF OF CENTER FOR HUMAN RIGHTS AND CONSTITUTIONAL LAW
       AND THE IMMIGRATION AND DEPORTATION DEFENSE CLINIC AS
         AMICI CURIAE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                       PRELIMINARY INJUNCTION1


                                         WILLIAM QUIGLEY (La. Bar No. 7769)
                                         Professor of Law
                                         Loyola University College of Law
                                         7214 St. Charles Avenue
                                         New Orleans, LA. 70118
                                         Telephone: (504)710-3074
                                         Facsimile: (504)861-5440
                                         Email: quigley77@gmail.com
                                         Admitted to Practice in W.D. La.



  1
    The parties have consented to the filing of this brief. See Unopposed Motion for
  Leave To File Brief As Amicus Curiae by Center For Human Rights and
  Constitutional Law and The University of San Francisco School of Law’s
  Immigration and Deportation Defense Clinic In Opposition to Plaintiffs’ Motion
  for Preliminary Injunction. No party’s counsel authored this brief in whole or in
  part, and no person or entity other than amici made a monetary contribution
  intended to fund the preparation or submission of this brief. Cf. Fed. R. App. Proc.
  29(a)(4)(E).
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 2 of 16 PageID #: 3570




                                     CENTER FOR HUMAN RIGHTS &
                                     CONSTITUTIONAL LAW
                                     PETER A. SCHEY (Cal. Bar No. 58232)*
                                     TAYLOR KOEHLER (Mn. Bar No. 0402207)*
                                     256 South Occidental Boulevard
                                     Los Angeles, CA 90057
                                     Telephone: (213) 388-8693
                                     Facsimile: (213) 386-9484
                                     Email: pschey@centerforhumanrights.org
                                           taylor@centerforhumanrights.org
                                     *pro hac vice applications forthcoming

                                     USF SCHOOL OF LAW IMMIGRATION CLINIC
                                     BILL ONG HING (CAL. BAR NO. 61513)*
                                     2130 Fulton Street
                                     San Francisco, CA 94117-1080
                                     Telephone: (415) 422-4475
                                     Email: bhing@usfca.edu
                                     *pro hac vice application forthcoming


  ///




                                       ii
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 3 of 16 PageID #: 3571



                                                  TABLE OF CONTENTS
                                                                                                                                       Page



  I.     INTEREST OF THE AMICI PARTIES ............................................................................ 1

  II.      BACKGROUND ............................................................................................................... 2

  III.     ARGUMENT ..................................................................................................................... 3

       a. THE PUBLIC INTEREST FAVORS THE TERMINTION OF THE TITLE 42
       POLICY BECAUSE EXISTING IMMIGRATION LAWS ARE BETTER SUITED TO
       ADDRESSING MIGRATION AT THE SOUTHERN BORDER. ...................................... 4

  IV.      CONCLUSION ............................................................................................................... 10


  ///




                                                                    iii
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 4 of 16 PageID #: 3572




                                                    TABLE OF AUTHORITIES
                                                                                                                                                Page(s)
  Cases
  Sepulvado v. Jindal, 729 F.3d 413 (5th Cir. 2013) ......................................................................... 4
  Texas v. United States, 328 F. Supp. 3d 662 (S.D. Tex. 2018)....................................................... 4
  Statutes
  8 U.S.C. § 1225(b)(1)(A)(ii) ........................................................................................................... 9
  8 U.S.C. §1182(a)(9) ....................................................................................................................... 6
  INA § 235(b)(1) .......................................................................................................................... 8, 9
  Other Authorities
  A Guide to Title 42 Expulsions, American Immigration Council (Oct. 15, 2021) ......................... 7
  Hillel R. Smith, Congressional Research Service, Expedited Removal of Aliens: An Introduction
    (Mar. 25, 2022), https://crsreports.congress.gov/product/pdf/IF/IF11357 ............................. 8, 9
  Migration Policy Institute, “Controversial U.S. Title 42 Expulsions Policy is Coming to an End,
    Bringing New Border Challenges” (Mar. 31, 2022),
    https://www.migrationpolicy.org/article/title-42-expulsions-policy .......................................... 7
  The Opposite of Orderly and Humane: Use of Title 42 Spurs Disorder and Undermines Security,
    Human Rights First (Feb. 2022), available at
    https://www.humanrightsfirst.org/sites/default/files/Title42SpursDisorderUnderminesSecurity.
    pdf ............................................................................................................................................... 5
  U.S. Customs and Border Protection, “CBP Releases January 2022 Monthly Operational
    Update,” (Feb. 18, 2022), https://www.cbp.gov/newsroom/national-media-release/cbp-
    releases-january-2022-monthly-operational-update#. ................................................................ 8
  U.S. Dep’t of Homeland Security, Homeland Threat Assessment 21 (Oct. 2020),
    https://www.dhs.gov/sites/default/files/publications/2020_10_06_homeland-threat-
    assessment.pdf ............................................................................................................................ 6
  U.S. Gov’t Accountability Office, Border Security: CBP’s Response to COVID-19 (June 2021) 5


  ///




                                                                            iv
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 5 of 16 PageID #: 3573




    I.      INTEREST OF THE AMICI PARTIES

         The Center for Human Rights and Constitutional Law (“CHRCL”)

  (www.centerforhumanrights.org) is a non-profit, public interest legal foundation

  dedicated to furthering and protecting the civil, constitutional, and human rights of

  immigrants and refugees, among others. Since its incorporation in 1980, CHRCL has

  provided a wide range of legal services to vulnerable individuals, including

  immigrants and refugees, and technical support and trainings to legal aid attorneys in

  the areas of immigration and constitutional law. CHRCL is invested in ensuring that

  agencies of the federal Government implement policies that are consistent with federal

  laws, including the Administrative and Procedures Act (“APA”), the Immigration and

  Nationality Act. (“INA”) and the U.S. Constitution. To that end, CHRCL has

  successfully undertaken numerous class action cases challenging policies and

  practices of federal works to advance and protect the constitutional and statutory

  rights of individuals seeking asylum and legal status in the United States. In addition

  to providing direct legal services, CHRCL has litigated to protect immigrants’ rights

  to access asylum and other relief under U.S. law and has appeared as amici in cases

  like this one that impact its organizational mission and ability to serve clients.

         The Immigration and Deportation Defense Clinic

  (https://www.usfca.edu/law/professional-skills/law-clinics/immigration-deportation)


                                             1
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 6 of 16 PageID #: 3574




  represents unaccompanied immigrant children and families who are in removal

  proceedings. The majority of clients are seeking asylum and come from Central

  America and Mexico. Under the supervision of the director and supervising attorney,

  students represent clients in various phases of immigration proceedings, including

  those subject to expedited removal. Through their work, students learn how to be

  ethical and successful immigration attorneys in a nonprofit setting. Implementation of

  Title 42 has prevented and continues to prevent immigrants from having access to the

  legal services that it is the Immigration and Deportation Defense Clinic’s primary

  mission to provide.


   II.       BACKGROUND

          On April 1, 2022, the Centers for Disease Control and Prevention (“CDC”)

  issued a Public Health Determination and Order ending migrant expulsions under the

  Title 42 Order and setting an implementation date of May 23, 2022 (hereinafter

  “Termination Order”). Public Health Determination and Order Regarding the Right to

  Introduce Certain Persons from Countries Where a Quarantinable Communicable

  Disease Exists (Apr. 1, 2022), Compl., Ex. A, ECF No. 1-1, at 29.

          In issuing this Termination Order, CDC Director Rochelle Walensky

  determined that the “suspension of the introduction of covered noncitizens [migrants

  subject to the Title 42 Policy] is no longer required in the interest of public health.” Id.

  at 5.

                                             2
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 7 of 16 PageID #: 3575




         Plaintiffs seek to enjoin the Termination Order in full, believing continued

  enforcement of the Title 42 Policy necessary for migration control at the southern

  border in order to prevent an unprecedented influx of undocumented migrants.

  Compl., ECF No. 1, at 1-12. Although Plaintiffs recognize that the Title 42 Policy was

  formally implemented under a public health code as a specific response to the

  COVID-19 public-health emergency, they argue that its continued implementation is

  justified by the threat of a “wave of illegal migration and drug trafficking” which will

  “overwhelm the Southern border.” Id. at 8. In seeking a Preliminary Injunction,

  Plaintiffs argue that they will be irreparably harmed if the Department of Homeland

  Security (“DHS”) uses existing immigration procedures outlined in the Immigration

  and Nationality Act (“INA”) to manage undocumented migration at the southern

  border, instead of the Title 42 Policy. See Pls. Mem. Supp. Mot. Prelim. Inj., ECF.

  No. 13-1, at 40-41. As amici will discuss infra, this is simply not the case.


  III.      ARGUMENT

         In considering a motion for a preliminary injunction, this Court must consider

  whether Plaintiffs have shown “(1) a substantial likelihood of success on the merits

  (2) a substantial threat of irreparable injury if the injunction is not issued, (3) that the

  threatened injury if the injunction is denied outweighs any harm that will result if the

  injunction is granted; and (4) the grant of an injunction will not disserve the public

  interest.” Sepulvado v. Jindal, 729 F.3d 413, 417 (5th Cir. 2013).

                                              3
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 8 of 16 PageID #: 3576




         The public interest “should be given considerable weight” in a preliminary

  injunction analysis, and “[i]f no public interest supports granting preliminary relief,

  such relief should ordinarily be denied.” Texas v. United States, 328 F. Supp. 3d 662,

  740-41 (S.D. Tex. 2018). This amicus brief addresses the preliminary injunction factor

  relating to the public interest. It is clear in this case that the public interest strongly

  favors Defendants’ termination of the Title 42 Policy and thus the denial of Plaintiffs’

  requested preliminary injunction.

              a. THE PUBLIC INTEREST FAVORS THE TERMINTION OF THE
                 TITLE 42 POLICY BECAUSE EXISTING IMMIGRATION LAWS
                 ARE BETTER SUITED TO ADDRESSING MIGRATION AT THE
                 SOUTHERN BORDER.

         As Plaintiffs emphasize in their Complaint, they are concerned with the number

  of undocumented migrants crossing the southern border and fear the country’s border

  policies “devolving into an unmitigated chaos and catastrophe” if the Title 42 Policy

  is terminated. See Complaint, ECF No. 1, at 1. Yet, the Title 42 Policy has

  continuously failed to achieve its tacit goal of preventing undocumented migration, let

  alone its stated public-health purposes, but has instead made the southern border more

  insecure.

         In 2021, the U.S. Government Accountability Office released a report entitled

  Border Security: CBP’s Response to COVID-19, and not unsurprisingly to amici, the

  report concluded that the Title 42 Policy had “negatively affected enforcement” at the


                                               4
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 9 of 16 PageID #: 3577




  southern border, as the expedited expulsions under the Title 42 Policy prevented

  border patrol agents from collecting critical intelligence from migrants, particularly

  concerning smuggling and other illegal conduct. See U.S. Gov’t Accountability

  Office, Border Security: CBP’s Response to COVID-19 (June 2021)

        The minimal “in-the-field” processing of migrants under Title 42 prevents

  border agents from conducting formal and thorough interviews with apprehended

  migrants during which important law enforcement information may be gathered. Id. at

  40. This is of particular concern as Mexican cartels, which present a serious threat to

  U.S. security, are “increasingly fighting to exercise even greater control over border

  regions.” The Opposite of Orderly and Humane: Use of Title 42 Spurs Disorder and

  Undermines Security, Human Rights First (Feb. 2022), available at

  https://www.humanrightsfirst.org/sites/default/files/Title42SpursDisorderUndermines

  Security.pdf.

        A 2020 U.S. Department of Homeland Security threat assessment affirms this

  conclusion with its finding that “among [transnational criminal organizations],

  Mexico-based cartels pose the greatest threat to the [U.S.] because of their ability to

  control territory – including along the U.S. Southwest Border – and co-opt parts of

  government, particularly at a state and local level.” U.S. Dep’t of Homeland Security,

  Homeland Threat Assessment 21 (Oct. 2020),

  https://www.dhs.gov/sites/default/files/publications/2020_10_06_homeland-threat-


                                            5
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 10 of 16 PageID #: 3578




   assessment.pdf. Moreover, these cartels treat vulnerable migrants like commodities,

   reaping profits as they smuggle them across the southern border.

         The Title 42 Policy also weakens the border security system by encouraging

   recidivism. Unlike the INA, Title 42 does not subject migrants who have been

   removed to long-term consequences, such as a bar on future immigration benefits. For

   example, the INA makes permanently inadmissible certain migrants previously

   removed under the Title 8. See 8 U.S.C. §1182(a)(9). Since Title 42 is a public health

   law with public-health related purposes, removal under it does not carry the usual

   penalties for repeat entries found in the INA. As a result, recidivism is encouraged,

   with migrants expelled under Title 42, particularly single adults who have little reason

   not to attempt repeat crossings of the southern border.

         While the number of encounters at the border has been consistently increasing,

   with nearly twice as many border apprehensions in Fiscal Year 2021 than in Fiscal

   Year 2019, the number of individual migrants attempting to enter the U.S. without

   inspection is not as high as the numbers may suggest. Encounter numbers refer only to

   apprehension events, not individuals, so “a single person trying to cross the border can

   be caught, expelled, and then repeat the attempt multiple times, each of which would

   count as a new expulsion.” Migration Policy Institute, “Controversial U.S. Title 42

   Expulsions Policy is Coming to an End, Bringing New Border Challenges” (Mar. 31,

   2022), https://www.migrationpolicy.org/article/title-42-expulsions-policy. This is


                                             6
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 11 of 16 PageID #: 3579




   exactly what has been happening at the southern border under the Title 42 Policy. An

   analysis of Customs and Border Protection estimates by the American Immigration

   Society suggest that the number of unique apprehensions was likely only 24% higher

   in 2021 than in 2019. See A Guide to Title 42 Expulsions, American Immigration

   Council (Oct. 15, 2021), available at

   https://www.americanimmigrationcouncil.org/sites/default/files/research/title_42_exp

   ulsions_at_the_border.pdf.

         Using data from CBP and DHS, The Migration Policy Institute reported: “From

   April through September 2020, 47% of all single adults encountered by Border

   Control had been encountered in the previous 12 months – more than double the pre-

   Title 42 rate of 23% from 2014 through March 2020.” See MIGRATION POLICY

   INSTITUTE, “Controversial U.S. Title 42 Expulsions Policy is Coming to an End,

   Bringing New Border Challenges” (Mar. 31, 2022) (emphasis added),

   https://www.migrationpolicy.org/article/title-42-expulsions-policy.

         U.S. Customs and Border Protection (“CBP”) clearly acknowledges that its

   encounter statistics “overstate the number of unique individuals arriving at the

   border.” U.S. Customs and Border Protection, “CBP Releases January 2022 Monthly

   Operational Update,” (Feb. 18, 2022), https://www.cbp.gov/newsroom/national-

   media-release/cbp-releases-january-2022-monthly-operational-update#.




                                             7
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 12 of 16 PageID #: 3580




         Thus, the Title 42 Policy is ultimately inefficient as a border enforcement tool

   as it encourages migrants who have been expelled to repeatedly attempt crossings,

   creating additional work for border control agents and further taxing the U.S.’s

   migration control system.

         Neither the Plaintiffs nor the border states need the Title 42 Policy to manage

   migration at the southern border. In the absence of the Title 42 Policy, adult migrants

   would be rapidly processed and removed under Title 8 of the U.S. Code, the

   traditional means of dealing with undocumented migrants apprehended at the border

   prior to the COVID-19 pandemic. Title 8 provides for a streamlined detention and

   “expedited removal” process for migrants who enter the U.S. without inspection. See

   INA § 235(b)(1).

         Migrants subject to expedited removal can be summarily removed “without

   further hearing or review” if they are determined by DHS to be “inadmissible either

   because they (1) lack valid entry documents, or (2) tried to procure their admission

   into the United States through fraud or misrepresentation.” Hillel R. Smith,

   Congressional Research Service, Expedited Removal of Aliens: An Introduction (Mar.

   25, 2022), https://crsreports.congress.gov/product/pdf/IF/IF11357. Expedited removal

   is typically applied to “(1) arriving aliens (defined by regulation as aliens arriving at

   U.S. ports of entry); (2) aliens who entered the United States by sea without being

   admitted or paroled into the United States, and who have been in the country less than


                                              8
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 13 of 16 PageID #: 3581




   two years; and (3) aliens apprehended within 100 miles of the U.S. border within 14

   days of entering the country, and who have not been admitted or paroled.” Id.

         Moreover, the fear that migrants awaiting an order of expedited removal under

   Title 8 will simply be released into the U.S is unfounded. INA § 235(b)(1) requires the

   detention of undocumented migrants placed in expedited removal or going through a

   credible fear determination for an asylum claim. Thus, when undocumented migrants

   are apprehended at the border, they are placed into and almost all remain in

   immigration detention.

         Title 8 does permit apprehended migrants a limited right to seek asylum

   protection. 8 U.S.C. § 1225(b)(1)(A)(ii). However, apprehended single adult migrants

   are detained pending a credible fear interview and if any asylum officer or

   Immigration Judge determines that the migrant does not possess a credible or

   reasonable fear of return, then the undocumented migrant is ordered removed without

   further review. 8 U.S.C. §1225(b)(1)(B)(iii)(I). Individuals who are found to have a

   credible or reasonable fear of persecution may still be detained while further review of

   their asylum case is pending. 8 U.S.C. § 1225(b)(1)(B)(ii).

         The streamlined nature of expedited removal statutes under Title 8 allows for

   the detention and rapid removal of migrants who entered without inspection and do

   not possess a statutory right to remain in the U.S. This appears to be precisely the

   result Plaintiffs desire. The southern states and the public have an interest in having


                                             9
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 14 of 16 PageID #: 3582




   migration along the southern border effectively and efficiently managed, and also

   hopefully have an interest in ensuring that migrants actually eligible for relief under

   statutes enacted by Congress have access to such relief. The latter number is obviously

   small compared to the numbers of migrants apprehended entering without inspection.

   Neither the southern states nor the public have an interest in having migration along

   the southern border controlled by a Title 42 mandate that encourages recidivism while

   also preventing migrants eligible for relief under statures enacted by Congress –

   including, for example, derivative U.S. citizens (8 U.S.C. § 1431), victims of

   trafficking (8 U.S.C. § 1101(a)(15)(T)), and abused, abandoned, or neglected minors

   (8 U.S.C. § 1101(a)(27)(J)) – to establish their possible eligibility for relief from

   summary removal.


   IV.       CONCLUSION

         Plaintiffs’ request that this Court enjoin Defendants implementation of the

   Order terminating the Title 42 Policy disserves the public interest. The termination of

   the Title 42 Policy not only protects the rights of a small number of migrants who may

   avoid removal if the Government applies Title 8 procedures at the border, but also




                                             10
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 15 of 16 PageID #: 3583




   allows for undocumented migration to be better and more effectively managed at the

   southern border than it has been since Title 42’s implementation.2

   Dated: May 11, 2022                   Respectfully Submitted,

                                         /s/ William Quigley
                                         WILLIAM QUIGLEY (La Bar No. 7769)
                                         Professor of Law
                                         Loyola University College of Law
                                         7214 St. Charles Avenue
                                         New Orleans, LA. 70118
                                         Telephone: (504)710-3074
                                         Facsimile: (504)861-5440
                                         Email: quigley77@gmail.com
                                         Admitted to Practice in W.D. La.

                                         CENTER FOR HUMAN RIGHTS &
                                         CONSTITUTIONAL LAW
                                         PETER A. SCHEY (Cal. Bar No. 58232)
                                         TAYLOR KOEHLER (Mn. Bar No. 0402207)
                                         256 South Occidental Boulevard
                                         Los Angeles, CA 90057
                                         Telephone: (213) 388-8693
                                         Email: pschey@centerforhumanrights.org
                                               taylor@centerforhumanrights.org
                                         *pro hac vice applications forthcoming

                                         USF SCHOOL OF LAW IMMIGRATION CLINIC
                                         BILL ONG HING (CAL. BAR NO. 61513)
                                         2130 Fulton Street
                                         San Francisco, CA 94117-1080
                                         Telephone: (415) 422-4475
                                         Email: bhing@usfca.edu
                                         *pro hac vice application forthcoming


   2
    Final note: The amici do not support every aspect of the Government’s Title 8
   expedited removal powers but nevertheless believe enforcement of those powers
   exceed the Title 42 powers in managing the border and discouraging recidivism.
                                           11
Case 6:22-cv-00885-RRS-CBW Document 72 Filed 05/12/22 Page 16 of 16 PageID #: 3584




                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 12, 2022, a true and correct copy of the

   foregoing document was filed electronically through the Court’s CM/ECF system,

   and will be served on counsel for all parties by operation of the Court’s electronic

   filing system.


                                          /s/ William Quigley
                                          WILLIAM QUIGLEY (La Bar No. 7769)




                                            12
